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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 CHARLES MATEY,
                                                   Civil Action No. 1:20-cv-04531
                        Plaintiff,

          v.



  QUINTANA ENERGY SERVICES INC.,
  CORBIN J. ROBERTSON, JR.,
  CHRISTOPHER J. BAKER, DAG
  SKINDLO, GUNNAR ELIASSEN,
  ROCKY L. DUCKWORTH, DALTON
  BOUTTÉ, JR., and BOBBY S.
  SHACKOULS,


                        Defendants.


                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff

Charley Matey hereby voluntarily dismisses the above-captioned action (the “Action”) without

prejudice. Defendants have filed neither an answer nor a motion for summary judgment in the

Action.

Dated: July 30, 2020                                    Respectfully submitted,

                                                        By: /s/ Joshua M. Lifshitz
                                                        Joshua M. Lifshitz
                                                        Email: jml@jlclasslaw.com
                                                        LIFSHITZ LAW FIRM, P.C.
                                                        821 Franklin Avenue, Suite 209
                                                        Garden City, New York 11530
                                                        Telephone: (516) 493-9780
                                                        Facsimile: (516) 280-7376
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                                      Attorneys for Plaintiff




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